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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
           DAVID MALO ZAMBRANO
                      (Defendant’s Name)                                  Criminal Number: 2:02CR00283 02


                                                                          JOHN P. BALAZS, ESQ.
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      adm itted guilt to violation of charges 1, 2 AND 3 as alleged in the violation petition filed on 4/1/2008 .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
1                                    FAILURE TO FOLLOW PROBATION                             02-28-2008
                                     OFFICERS INSTRUCTIONS
2                                    FAILURE TO W ORK REGULARLY                              4/07 - 3/08
3                                    FAILURE TO NOTIFY PROBATION OFFICER                     3/1/08 - 3/18/08
                                     10 DAYS PRIOR TO CHANGE OF
                                     RESIDENCE

The court: [U] revokes supervision heretofore ordered on 10/10/2007 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.




         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                              06/03/2008
                                                                                    Date of Im position of Sentence


                                                                                          /s/ John A. Mendez
                                                                                      Signature of Judicial Officer


                                                                       HON. JOHN A. M ENDEZ, United States District Judge
                                                                                Nam e & Title of Judicial Officer


                                                                                                 06/06/2008
                                                                                                    Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:02CR00283 02                                                                Judgment - Page 2 of 2
DEFENDANT:                 DAVID MALO ZAMBRANO



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 6 MONTHS .

NO SUPERVISION TO FOLLOW .




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in the RCCC facility or the Nevada City facility, but only
         insofar as this accords with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
